
By the Court.—Sedgwick, Ch. J.
The defendant-*2corporation is foreign, having been constituted by the statutes of New Jersey. I assume that the plaintiffs are residents of this state and that the courts of this state have jurisdiction of the action. The appellants make no question as to the jurisdiótion.
The defendant-corporation made a call upon its stockholders, generally, including the plaintiffs, of $50 per share. In this call it was declared “ that any stockholder might assign, to the corporation, his shares, and that in such a case, the corporation would issue to him a certificate for one-half of the number of shares assigned, and the assignment should be in satisfaction of the call.
The plaintiffs claimed in this action that such a call was not authorized by law, and was invalid because the shares of the company had been before the call fully paid for, and were not assessable and the corporation was not authorized by law to.take anything but cash in payment for shares. It, however, appears that if the plaintiffs were not liable to the threatened consequences of the call, they would not be injured by other shareholders acceding to the terms of the call.
On the papers the plaintiffs’ shares have been fully paid for, and the call should not be enforced against them. The resolution directing the call specifically threatens to enforce it under its charter, that is to proceed to forfeit the shares of those stockholders who do not fulfil the demands of the call. The plaintiffs have a right in equity to restrain an attempt to forfeit their shares. When this restraint is made by order of the court, they are fully protected against any injury that may come from the enforcement of the call against other shareholders. The order below should be modified by enjoining the defendants from proceeding to forfeit the plaintiffs’ shares. The plaintiffs have an adequate pro-
*3tection at law against any action the corporation ■may bring, for a money judgment upon the supposed obligations of the call.
I do not think that the order of injunction is contrary to the provision of § 1809 Code Civil Procedure, but, omitting the specific injunction against other directors than the one served, will take the question out of the case.
The order is modified, as the opinion suggests, and, as modified, affirmed without costs.
O’Gorman, J., concurred.
